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IN 'I`HE UNITED STATES I)ISTRICT COURT
FOR THE DISTRICT OF MARYLAND

IN RE= PERsoNAL INJURY »'=
ASBESTOS LlTlGATloJN (vl)

 

vk ':'c :’= vt k 7'< ~k '.-¢ =’: :'< ')r :L~
’i`his Document Relates to: *

Wcstin;zhouse Electric Corporation * MDL Docl<et No. 875

(See attached Schedule A for case list) *

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M()TION TO WITHDRAW APPEARANCES
Thomas L. Crowe and l\/Iorton A,. Sacks, hereby move pursuant to Locai Rulc
101 to withdraw their appearances entered on behalf of CBS Corporation, a Delaware
corporation, f/k/a Viacom, Inc., successor by merger to CBS Corporation, a Pennsylvania
corporation, f/k/a/ Westinghouse Electric Corporation, for all matters listed on the

attached Schedule A.

In support of their Motion, l\/Iovants aver that Edward F. Houff, Esquire and
Philip A. Kulinski, Esquire of Evert l Weathersby l Houft` have previously entered their
appearances in this case on behalf of the client in question and its predecessors in each ot`

the cases listed on the attached Schedulc A.

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Respectfully subrnitted,

/s/
'l`hornas L. Crowe
haw Off`lces of'l`hornas L. Crowe
The World 'l`rade Center, Ste. 1622
401 East Pratt Street
Baltirnore, l\/ID. 21202
(410) 685-9428

/s/
Morton A. Sacl<s
303 Viewing Avenue
Linthicum, MD. 21090
(410) 850-5003

CERTIFICA'I`E OF SERVICE

l hereby certify this lOth day of Novernber, 2006, that l caused the foregoing
Motion to Withdraw Appearances With a proposed Order to be electronically filed and
served on counsel of record pursuant to Fed. R. Civ. Procedure 5.

/s/
Thomas L. Crowe

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT ()F MARYLANI)

IN RE; PERSONAL INJURY =‘=
AsBEsTos LITIGATION (vr)

x =': k n ;'¢ 17¢ ~k x :’c :'¢ x x
This Doeument Relates to: *
Westinahouse Electric Corporation * I\/IDL Docket No. 875

 

(See attached Schedule A to accompanying *
Motion to Withdraw for case list)

>i¢ =r >t= s =1= »i= >z¢ s >i= =i< >z< *

ORDER
Upon consideration of the foregoing Motion to Withdraw Appearances, it is
ORI)ERED that the Motion of Thomas L. Crowe and Morton A. Sacl<s is GRANTED
and that their appearances be, and the same hereby are, STRICKEN as counsel in all

cases listed on Schedule A attached to their Motion.

Dated: November , 2006

 

UNITED STATES DIS'i`RICT JUDGE

 

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PAR’I"Y CASE NO.

 

PACK, ex a!., v. A C&S, Inc., et al.

l:93ch-03011

 

'I`AYLOR, el al., V. A C&S, Inc., el al.

l:93~CV-03012

 

KEEN, et al., v. A C&S, Inc., el al.

l :93-cv~03013

 

ISAAC, el ai., v. A C&,S, Inc., et af.

1:93~cv-03014

 

GAST, cf al., V. A C&S, Inc., et a/.

1:93~0\1~(}3015

 

ANKENY, cf al., V. A C&S, lnc., cf af.

l :93-0\/-03016

 

BROWN, er al., V. A C&S, Inc., et af.

1:93»0\/-03017

 

I-iAI\/i§l..'l`()l\}, et al., v. A C&S, Inc., el al.

§:93-0\'~03(}]8

 

JUARASClO, el al., v. A C&S, lne., et al.

t :93-cv-03019

 

I\/iAR'l`Z, et al., v. A C&S, inc., el cu’.

l:93~cV-03020

 

I~lOWARD, et al., v. A C&S, Inc., et al.

l :93"cV-U3021

 

Tl-iOI\/[AS, et cil., v. A C&S, Inc,, et cri.

l:93»cv»()3022

 

AIKEN, el a£., v. A C&S, lnc,, et a!.

l:93~cv-03023

 

BOLES, el al., v. A C&;S, Inc., et at

l:93-cy~03024

 

BROADWATER, el a[., v. A C&S, lnc., et al.

l :93»0\'-03025

 

BURNS, et al., v. A C&S, Inc., el af,

1:93-cv-03{)26

 

CLEMSON, et a£., v. A C&S, Inc,, el ai.

l :93~0\1-03027

 

DAVIS, et al., v. A C&S, Inc,, et al.

1:93»0\1»03028

 

DORSEY, el m’., v. A C&S, Inc., el al.

1193~cv-03029

 

GORI, el al., v. A C&S, lnc., el al.

l:93~c\1-03030

 

i*IANSSEN, ct al., vt A C&S, Inc., er al.

lt93-cv-0303l

 

HEML!NG, er al., v. A C&S, Inc., et al.

1:93-cv-(}3032

 

HOWARD, et al., v. A C&S, Inc., er cit'.

1:93»0\'~{}3033

 

KL£MOV§TZ, el al., V. A C&S, Inc., et at

1:93-0\=»03034

 

MECHLINSKI, et af., v. A C&S, lnc\, et al.

1193»0‘#-03035

 

MENEAR, et a!`, v. A C&S, Inc., el m‘.

l:93-cv~03036

 

PAYNE, er al., v. A C&S, Inc., et al.

i:93-cv~03037

 

PRICE, et a!., v. A C&S, Inc., et al.

1:93~0\1~03039

 

SM§'}`I~I, el al., v. A C&S, Inc., el al.

ic93-cv-O3040

 

WAGNBR, el al., V. A C&S, Inc., et al.

i‘.93~cV-0304l

 

WASI~IING'I`ON, et a!., V. A C&S, Inc., er al.

1193-cv»03()42

 

WEST, el al., v. A C&S, Inc., el a¢'.

1:93-cy~03043

 

WHI"E`AKER, et ai., y. A C&S, Inc., et a!.

l 193-cv-03044

 

WI~H'i`E, et al., v. A C&S, Inc., el al.

l :93-cv-03045

 

WILEY, el ai'., v. A C&S, Inc., el a!.

l :93~cv-03046

 

WII.,SON, er al., v. A C&S, Inc., el af.

1193-0\!»03047

 

?OWELL, et a!., v. A C&S, Inc., et al.

l :93~0\/~03048

 

ANDERS, et al., v. A C&S, lnc., el af.

1 :93~0\'»()3049

 

ARMS'I`EAD, ed al., v. A C&S, luc., er al.

I:93-cV-03050

 

 

BARBORKA, el al., v. A C&S, inc., er af.

 

i:93-eV-0305]

 

 

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EDENTON, et al., v. A C&S, lnc., et m'.

1193»0\'~03052

 

FERANDES, el n!,, v. A C&S, Inc., et al.

l'.93»cV-03053

 

l*`RBYER, el al., v. A C&S, inc., er a£.

l:93-cv~0305¢t~

 

GAZET'I`E, et al., v. A C&S, Inc., el al.

§ 193-cv--03055

 

GREEK, er al., y. A C&S, lnc., el al.

i:93-cv»{}3056

 

I"IARTMAN, el a!,, v. A C&S, lnc., et al.

l:93»cv~03057

 

HODGE, el af,, v. A C&S, Ine., el a!.

1:93-0\/~03058

 

HOPSON, et al., v. A C&S, Inc., er al.

1:93rcv~03059

 

I-IUYBI'ERT, et a!., v. A C&S, lnc., er al.

i:93-cv~03060

 

MILLER, el af., V. A C&S, inc., et al

i:93-cv-(}3061

 

NBU(}ENT, el al., v. A C&S, Inc., et cn’.

1 :93~0\/-03062

 

NOVAK, et a!., v. A C&S, Inc., el al.

l:93-cv~03063

 

PARKER, et al., V. A C&S, lnc., el al.

l :93~cv-03064

 

ROZANSKI, et al., v. A C&S, Inc., el al.

`1:93-¢v-03065

 

SWIGON, el al., v. /-\ C&S, lnc., er al.

lt93-cv-O3066

 

TAYLOR, el ai., V. A C&S, Inc., er czl.

l:93-c\/-03067

 

'I`ELAK, et al., v. A C&S, Inc., el al.

1:93~0\/~03068

 

WATSON, el al., V. A C&S, lnc., el al.

l:93»c\/»03069

 

I~iUl\/IPHREYS, et a£., v. A C&S, Inc., et cn’.

i :93~cy~(}3070

 

ARRAS, et al., y. A C&S, lnc., ct a!.

] :93~cv-0307l

 

AI"IRENS, el al., v. A C&S, Inc., el ali

l:93-cv~03072

 

COL]§§MAN, el al., v. /-\ C&S, lnc., el air

l :93-cv~03073

 

COUSL]N, et al., v. /-\ C&S, Inc., et c:!.

3193»0'»'~{)3074

 

DAWKINS, er al., v. A C&S, Inc., el a!.

l:93-cv~03075

 

Dll\/lAR'I`lNO, et af., v. A C&S, lnc., et af.

l:93~cv»03076

 

FORD, el'czl., v. A C&S, Inc., er al.

1 :93~0\1»03077

 

l"<`OSTER, el al., v. A C&S, Inc., el al.

1:93-0\/~03()73

 

HERBERT, el al., v. A C&S, lnc., er a/.

1193-Cv-03079

 

HOWARD, et af., y. A C&S, Inc., et al.

1:93~cv-03080

 

HURT, el al., V. A C&S, inc., et al.

l 193-cv~03081

 

JAl\/Il'l`iS, el al., V. A C&S, Inc., el al.

l:93-cv~03082

 

JOH`NSON, et al., v. A C&S, Inc., er af.

1:93-cv-03083

 

JONES, et al., v. A C&S, inc., et a!.

l:93-cv-03084

 

J()NES, et al., v. A C&S, inc., el af.

1193-cV-O3085

 

NOLAN, ct m’., y. A C&S, lnc., er al.

1193~0\1-03()87

 

GLIVER, el af., V. A C&S, lnc., et a!.

1:93~cv-03088

 

RICHARDSON, et af., v. A C&S, lnc., et al.

l:93-cv-03089

 

RUSSO, el al., v. A C&S, Inc., et al.

l:93-cv~03090

 

SANDERS, er cz.'., V. A C&S, lnc., cl m’.

l:93-cv-03091

 

SARAPIK, cl al., v. A C&S, lnc., er al.

l :93»0\)~{)3092

 

WHITE, et al., V. A C&S, Inc., ct aZ.

1:93»0\/-03093

 

WINKLER, et czl., v. A C&S, inc., el al.

1:93*0\1~03094

 

WYNDER, et al., y. A C&S, Inc., er al.

1:93~0\/-03095

 

YORI, et al., V. A C&S, lnc., el ai.

1:93»0\1-(}3096

 

 

AMOS, et c:l., V. A C&S, Inc., et af.

 

l:93~cy~03097

 

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1293-cv~03098

 

CHURCH, cl cn'., v. A C&S, Inc., et al.

1:93~cv-03099

 

DOTSON, et a£., y. A C&S, Inc., el al.

1:93~0\/~03100

 

P`OSTER, et al., v. A C&S, Inc., cf ch’.

1:93'0\¢-03 101

 

GUBOSI"I, el a[., v. A C&S, lnc., er n!.

1:93-0\/-03102

 

MCKENZIE, et al., v. A C&S, inc., el at

1193»<;\/~03103

 

MEDVIDOVICH, et a[., V. A C&S, inc., et m'.

l:93~cv-03104

 

PRITCHE'I`T, et al'., v. A C&S, lnc., et`ral.

1193»cV-03 l 05

 

PAYNE, et al., v. A C&S, Inc., et a!.

l :93~cv~03106

 

SAMS, el al., v. A C&S, lnc., el m'.

1:93-0\1-0310?

 

SHARPLESS, er a!., v. A C&S, lnc., el al.

l :93»cv-03108

 

'l`I»IOi\/IAS, el al., v. A C&S, Inc., et al.

1 :93-cv-03109

 

'rHoRNi--HLL, a al., v. A c&s, inc., a at

1:93~cv-03110

 

ACKWITH, et al., V. !-\ C&S, Inc., el nl.

1:93»<:\)-031 11

 

ALAWAT, el a!., V. A C&S, lnc., el al.

1:93~cv~03112

 

I)OERER, el al., v. A C&S, lnc., et af.

1:93-cv~03113

 

I*`ISCHER, el a!., v, A C&S, lnc., et al.

i.'93-cv~03114

 

FRASER, el al., v. A C&S, Inc., el al.

1;93~cv-03115

 

GRlFlil'i`i-l, et al., v. A C&,S, Inc., et m'.

1 :93~cv-03116

 

JACOBS, er al., v. A C&S, Inc., et a!.

1:93»0\/~03117

 

CI"IRIS'I`O!’I'{BR, el al., v. A C&S, lnc., er cn’.

l:93wcv-03118

 

COLEMAN, el al., v. A C&S, Inc., er a!.

l:93~cv~03 l 19

 

"CROSSET`I`, et al., v. A C&S, Inc., et al.
13DIS'1`ON, el al., V. A C&S, lnc., et af.

1 :91§-cv-03120
l:93»cv-03 121

 

HAIRFIEI.E), et a:.'., v. A C&S, inc., et al.

1 :93-0\/~03122

 

LOUGI"I, et a¢'., v. A C&S, Inc., el al.

1:93~cv~03123

 

MCCOY, et al., v. A C&S, Inc., er a£.

1:93~0\/-03124

 

MCKINNEY, el al., v. A C&S, Inc., el a.'.

1193~0\1-03125

 

w‘I“\/lICI<.EALUI\IIS, er al., v. A C&S, Inc., el al.
PALCHER, et al., v. A C&S, Inc., ct nl.

1 :93»cv~03126
1 :93~cv~03127

 

PLEASANT, et al., V. A C&S, Inc., er m'.

1 :93-0\'~03128

 

PUGI~I, et al., v. _A C&S, Ine., er al.

l :93~cv-03129

 

SARADIN, er af., v. A C&S, inc., et al.

1193-cv»03130

 

STANIEWSKI, et al., V. A C&S, Inc., el al.

1 :93-cv-03131

 

SZIMANSKI, er al., v. A C&S, lnc., el al.

1:93~cv-03132

 

WARFIELD, el' al., v. A C&S, Inc., et al.

1:93-cV-03133

 

WOODS, el al., V. A C&S, lnc., et af.

1:93"cv_03134

 

i"IBARD, el 01., V. A C&S, lnc., et al.

1193-cy~03135

 

BAH_,EY, el al., V. A C&,S, lnc., ct al.

1 :93»cv-03136

 

BARNES, et al., V. A C&S, lnc., e!'al.

1 :93~cV-03137

 

BAR'I`OCK, er al., v. A C&S, inc., et al.

l :93~cv»03138

 

BTNGAMAN, et a£., v. A C&S, Inc., el al.

i:93-cv~03139

 

BIRCI~I, et al., v. A C&S, lnc., el al.

1:93-cv-03140

 

BR_EEDEN, et al., y. A C&S, §nc., et al.

1 :93~cy-03141

 

 

BREEDEN, et a!., v. A C&S, inc., et al.

 

1 :93~cV-03142

 

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COCKRI?,LL, el al., v. A C&,S, inc., el a!.

1 :93»0\/~03143

 

COLLACCI"H, el al., V. A C&S, lnc., et al.

1193~<:\/~03144

 

DIETER, et al., V. A C&S, inc., et al.

l:93rcy-03145

 

DOEMLING, et al., v. A C&S, Inc., et n[.

l:93»cv~03146

 

FLOYD, el al., y. A C&S, inc., er a/.

1:9.'1-cv-03147

 

GULDAN, el af., y. A C&S, lnc., et al.

1:93-cv-03148

 

1~1AMER,eral.,v. A C&S, lnc., et al.

1:93~0\/»03149

 

1--IECK, er al., v. A C&S, Inc., el a!.

1193-cv-03150

 

IZDEBSKI, et al., V. A C&S, lnc., el al.

1:93~cv~03151

 

JONES, cr al., v. A C&S, Inc., el a[.

1193-cv~03152

 

MCCULLOUGH, el al., v. A C&S, Inc., cf a!.

1:93-cv-03153

 

MCQUADE, et az'., v. A C&S, Inc., el al.

1;93»<:\1-031 54

 

NEWMAN, et a!., v. A C&S, lnc., et al.

1 :93»0\/~03155

 

()GLE, cf c:!., v. A C&S, Inc., el af.

1 :93~0\/-03156

 

E’ILYOR, el az`., v. A C&S, Inc., et m'.

1 :93*cv»03157

 

'l`ANNER, et al., v. A C&S, lnc., eta/1

1:93'0\;-03158

 

 

'Z`ILL, el al., v. A C&S, lnc., el a!.

1:93»cv-03159

 

 

VENABLH, el cr¢'., V. A C&S, Inc., et ali

1'.93»0\/'03160

 

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1193~0\/»03161

 

BLUNT, el al., v. A C&S, lnc., et a!.

1193-cv~03162

 

BROWN, et al., V. A C&S, Inc., et 1511t

1 :93~cv~03163

 

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1193-cv»03164

 

CLEVENGER, el al., v. A C&S, Inc., el al.

1:93~0\1»03165

 

CORBIN, et al., v. A C&S, liic., et a!.

1 :93-cy-03166

 

COUPLING, et al., v. A C&S, lnc., el al.

1 :93-cv*03167

 

GALLIA, el al., v. A C&S, lnc., et al.

1:93-0\/~03168

 

GROSS, et al., v. A C&S, lnc., el al.

1 :93-cy-03169

 

DII_.L, el ai., v. .f-\. C&S, Inc., el al.

1:93~cv~03170

 

"'1-1uN'r13R, w az., v. A c&s, inc., a at

1:93~cv-03171

 

`Joi-thoN, a az., v. A c&s, inc., a at

1 :93~cV-03172

 

WEBER, el al., v. A C&S, Inc., et a!.

1 :93-0\/~03173

 

MARCOMIN, el a£., v. A C&S, Inc., el al.

 

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l:93-cv-03174
1:93»0\1~03175

 

MOORE, er a!., v. A C&S, inc., el al.

1:93-0\/»03176

 

NIZBR, et al., v. A C&S, Iiic., et a!.

1 :93-cv-03177

 

O'I"FO, et al., v. A C&S, lnc., el alt

1193~0\/~03178

 

PAIGE, er m", v. A C&S, Inc., el m'.

1:93-cy~03179

 

PALMER, et ai., v. A C&S, inc., el al.

1:93-<:\1»03180

 

PARKER, et a!., v. A C&S, Inc., et al.

1193-cv-03181

 

PEARSON, el af., v. A C&S, Inc., et a!.

1:93~0\~03182

 

STRAUSSI`:`,R, et al., V. A C&S, lnc., ct a¢'.

1193-cv»03183

 

'1`AYLOR, et a!., V. A C&S, inc., et af.

l:93~cv»03184

 

WINIECKl, el al., v. A C&S, Inc., el a!.

1:93~cv~03185

 

 

ABBOTT, et al., v. A C&S, lnc., et al.

1193~cv-03136

 

 

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1 :93-0\!_03187

 

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1:93-cv~03188

 

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1 :93~cv~03189

 

BERRY, et al., v. A C&S, lnc., el al.

1:93-cv-03190

 

BRAMBLE, el a[., v. A C&S, Inc., et cri.

1:93»cv~03191

 

BI{§LEY, el al., v. A C&S, Inc., et al.

1 :93-cv-03192

 

BUiE, el a!., v. A C&S, Inc., el al.

1:93~6\1-03193

 

BUR'I`ON, et al., v. A C&S, lnc., el al.

1 :93~cV-03194

 

CALDWEl`.,L, el al., v. A C&S, lnc., et al.

1:93»cv~03195

 

CANNADAY, et a!., v. A C&S, 11th el al.

1193-cv»03196

 

CAR'I`ER, er al., v. A C&S, inc., et cn’.

1:93-0\/-03197

 

DAK()S, et al., v. A C&S, lnc., et al.

1193-cv-03198

 

`DODD, er al., v. A C&S, Inc., el al.

1:93-ev~03199

 

El, el al., v. A C&S, lnc., et at'.

1293-CV-03200

 

EMIERSON, el cif., v. A C&S, Inc., el af.

1:93-ev-03201

 

 

GAINEY, el al., v. A C&S, lnc,, er af.

1 :93-0\/~03202

 

GADDY, el al., y. A C&S, Ine., et cr!.

1193»0\/»03203

 

GRIEEN, et al., v. A C&S, Inc., et al.

1:93'0\/-03204

 

GOUGH, el al., v. A C&S, Inc., el al.

1:93~cV-03205

 

1‘1ARRIS, el al., v. A C&S, inc., cf al.

1193~0\1~03206

 

HENRY, cr al., v. A C&S, lnc., et al.

l :93-cv-03207

 

1~'1EW131.,L, el cr!., v. A C&S, lnc., el al.

1:93-cv-03208

 

I‘IICKS, el al., v. A C&S, Inc., el ai.

1:93~0\/~03209

 

1"`01{1),@1¢:!.,\;. A C&,S, Inc., er al.

1:93-cy-03210

 

HOWZIE, et a!., v. A C&S, lnc., et af.

1:93~0\/'03211

 

JACKSON, el af., v. A C&S,1nc,, el al.

1:93~0\1»03212

 

§ANOWIAK, et af., V. A C&S, Inc., et crl.

1:93-0\1-03213

 

JOHNSON, el al., v. A C&S, Inc., er a!.

1:93-<:\/»03214

 

KARZAK, et al., V. A C&S, lnc., er al.

1:93-cv-03215

 

KENNEY, el al., v. A C&S, lnc., el al.

1 :93-0\1#03216

 

KURSCI*I, et ui., v. A C&S, 1nc., et af.

1:93~cv-03217

 

LAZZERI, er al., v. A C&S, lnc., et a!.

1193-cv~03218

 

1.,1)1311\1$1<11, er ai., v. A C&S, lnc., et al.

1:93-0\/~03219

 

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